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                  EXHIBIT D
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                       Transcript of the Testimony of:

                    Richard Joseph Geller, M.D.
                                         K.J.P.

                                            v.

                                 County of San Diego

                                     July 20, 2017

                                        Volume I
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       Richard Joseph Geller, M.D.                                         July 20, 2017

   ·1· ·be substances that weren't tested for, but in terms of
   ·2· ·what was tested for, do you have any question about the
   ·3· ·results being accurate?
   ·4· · · ·A· · I assume that you're referring to the broad
   ·5· ·range of laboratory results in this case from the
   ·6· ·hospital, from the San Diego Medical Examiner's office,
   ·7· ·and from National Medical Services?
   ·8· · · ·Q· · Yes.
   ·9· · · ·A· · I haven't found a reason to question those
   10· ·laboratory results.
   11· · · ·Q· · And do you have a reason to question the
   12· ·decisions that were made by those people about which
   13· ·substances to test for?
   14· · · ·A· · I'm not sure exactly what you mean by that.
   15· · · ·Q· · Well, let me back up, then.· Let's break it
   16· ·down.
   17· · · · · · So you get, let's say, a sample from a human
   18· ·being, and let's just say a blood -- a blood sample,
   19· ·they draw some blood from some guy who's alive, and to
   20· ·find out if there's any toxicological substance in that
   21· ·blood, the toxicologist, or whoever is doing the
   22· ·screening, has to test it against certain tests to see
   23· ·whether something is in there.
   24· · · · · · Would that be correct?
   25· · · ·A· · They're -- they're attempting to detect


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   ·1· ·metabolites, PCP, LSD, marijuana.
   ·2· · · · · · But these are -- require a decision by the
   ·3· ·tester to look for the presence or absence of those
   ·4· ·substances; correct?
   ·5· · · ·A· · That's right.
   ·6· · · ·Q· · Okay.
   ·7· · · · · · When you look at the toxicology testing that
   ·8· ·was done of Mr. Phounsy, the patient in this case, are
   ·9· ·you critical at any of the labs that a substance that
   10· ·should have been tested for wasn't tested for?
   11· · · ·A· · I'm not critical.
   12· · · · · · But at the same time, the testing that was
   13· ·performed is not an encyclopedic range of tests, and it
   14· ·almost certainly is not complete to the extent that I
   15· ·believe that there were substances -- one or more
   16· ·substances present in Mr. Phounsy which were not
   17· ·identified.· Now, that's not because the laboratory was
   18· ·negligent in some way or made poor decisions.
   19· · · · · · The problem for forensic toxicologist
   20· ·toxicology in the modern era, including 2015, is that
   21· ·drugs are coming into the underground marketplace at an
   22· ·incredible rate.· We're experiencing in the 21st century
   23· ·an unprecedented number of new substances every year,
   24· ·and the identification of those substances in terms of
   25· ·designing a test for it lags considerably the


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   ·1· ·introduction into the marketplace.
   ·2· · · · · · So it's entirely possible for a Medical
   ·3· ·Examiner to be diligent and scrupulous in attempting to
   ·4· ·see if there's something there and not find something
   ·5· ·that's actually there.
   ·6· · · ·Q· · Just to reiterate my question -- I think you
   ·7· ·answered it but just to reiterate it -- in terms of what
   ·8· ·they looked for in this particular case, you are not
   ·9· ·critical of their test selection.
   10· · · · · · Is that correct?
   11· · · ·A· · I don't think so.
   12· · · ·Q· · That is correct?
   13· · · ·A· · Well, you're asking me questions that I haven't
   14· ·thought about, and I'm trying to formulate a response to
   15· ·you that's truthful.
   16· · · · · · But thinking about it, I can't come up with a
   17· ·criticism.· So I would say your proposition is correct.
   18· · · ·Q· · Okay.
   19· · · · · · So are you testifying as an expert in this case
   20· ·as a forensic toxicologist or as a medical toxicologist,
   21· ·or is that not a fair distinction to draw?
   22· · · ·A· · I'm testifying as both.· And I reserve the
   23· ·right to draw on my certification and experience as an
   24· ·emergency physician and internist as well.
   25· · · ·Q· · Are you opining in this case -- let's talk


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   ·1· ·Vague and ambiguous.
   ·2· · · · · · THE WITNESS:· Yes.
   ·3· ·BY MR. BURTON:
   ·4· · · ·Q· · So the family was concerned and called a
   ·5· ·doctor; correct?
   ·6· · · ·A· · That was the information given to me.
   ·7· · · ·Q· · And the doctor said, well, try some
   ·8· ·over-the-counter sleeping aids like Benadryl and see if
   ·9· ·that helps him, and they did; correct?
   10· · · ·A· · What I read and what I quoted here was that the
   11· ·doctor said that Mr. Phounsy needed to go to sleep.
   12· · · · · · In response to that, Mr. Kelly drove down to
   13· ·Walgreens and purchased some diphenhydramine.
   14· · · · · · What was not clear to me was what you're saying
   15· ·about the doctor recommending that that's what they
   16· ·should do.
   17· · · ·Q· · Okay.· But regard -- you stated your
   18· ·understanding.
   19· · · · · · But regardless, he took the sleeping -- the
   20· ·over-the-counter sleeping medication; correct?
   21· · · ·A· · That's what I read.
   22· · · ·Q· · Okay.
   23· · · · · · And do you have any other direct evidence that
   24· ·Mr. Phounsy took any other substance on April 13th?
   25· · · ·A· · Not direct evidence, no.


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   ·1· ·BY MR. BURTON:
   ·2· · · ·Q· · This is a closeup of his face in the same
   ·3· ·location, either the carpet or the driveway.· Have you
   ·4· ·seen that picture before?
   ·5· · · ·A· · I don't think so.
   ·6· · · ·Q· · And do you recognize cyanosis in that
   ·7· ·photograph?
   ·8· · · · · · MR. OSTERBERG:· Objection.· Lacks foundation.
   ·9· ·Incomplete hypothetical.· Calls for speculation based on
   10· ·looking at a photograph.
   11· · · · · · MR. CHAPIN:· Join.
   12· · · · · · MS. PARADIS:· Join.
   13· · · · · · THE WITNESS:· Well, this really isn't a
   14· ·photograph.· It's not printed on photographic paper.
   15· ·This appears to be a laser printout.
   16· · · · · · And what appears to you in both of these
   17· ·photographs to be a driveway appears to me to be a rug.
   18· ·So I don't think that the quality of what we're seeing
   19· ·here really would allow me to make a diagnosis or
   20· ·exclude cyanosis from these documents.
   21· ·BY MR. BURTON:
   22· · · ·Q· · The MDMA that there was a positive test for,
   23· ·was that amount of MDMA that was the trace amount that
   24· ·was in his antemortem blood, was that enough by itself
   25· ·to induce any behavioral effects at that time?


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   ·1· · · ·A· · I don't think so.
   ·2· · · ·Q· · It would indicate that at some time previously
   ·3· ·he had taken most likely, I guess, what might be called
   ·4· ·a recreational dose of MDMA?
   ·5· · · ·A· · It's hard to say what kind of dose he took.
   ·6· · · · · · When you see a very small amount of a drug in
   ·7· ·blood and the test is reliable -- and I think that the
   ·8· ·antemortem blood testing is probably quite reliable --
   ·9· ·it means either the drug was just consumed and it's only
   10· ·beginning to be absorbed into the blood, you're seeing
   11· ·it at the beginning of the absorption curve, or you're
   12· ·seeing it at the end of the absorption curve, or the
   13· ·amount that was ingested was trivial to start with.· So
   14· ·you don't really know which of those possibilities it
   15· ·actually is.
   16· · · · · · So he could have on Friday or Saturday consumed
   17· ·a significant amount of MDMA and only had a trace by
   18· ·almost midnight on Monday the 13th.
   19· · · ·Q· · Well, don't you think that's likely the
   20· ·explanation here?
   21· · · ·A· · That he consumed the drug Friday or -- and
   22· ·Saturday?
   23· · · ·Q· · Or you said Friday and Saturday.· I would say
   24· ·Friday or Saturday.
   25· · · ·A· · He could have consumed a significant amount of


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   ·1· ·for speculation.
   ·2· · · · · · MS. PARADIS:· Join.
   ·3· · · · · · THE WITNESS:· Sympathomimetic drugs generally,
   ·4· ·of which MDMA is one, rev up the sympathetic nervous
   ·5· ·system and create, at least in non-overdose type
   ·6· ·recreational doses, as you said, a hypervigilance of the
   ·7· ·autonomic nervous system, keeping people awake.
   ·8· · · · · · Methamphetamine, amphetamine have been used by
   ·9· ·college students for decades as speed to stay awake and
   10· ·study all night.· So that's one of the known effects of
   11· ·amphetamines, including methylenedioxymethamphetamine.
   12· · · · · · So that would be the acute mechanism for the
   13· ·insomnia, not the triggering of some remote psychiatric
   14· ·problem that nobody had ever heard about.
   15· ·BY MR. BURTON:
   16· · · ·Q· · So, based on the toxicology results alone, the
   17· ·one thing we can say for sure, at least reasonably sure
   18· ·just based on the toxicology results alone, is that
   19· ·Mr. Phounsy looks like he took some ecstasy when he was
   20· ·at Coachella.
   21· · · ·A· · I think that's a reasonable inference from the
   22· ·data that's available.
   23· · · ·Q· · And he smoked some marijuana -- and I know
   24· ·marijuana stays around forever; right?· So at some time
   25· ·in the past he had smoked some marijuana in the recent


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    ·1· ·past.
    ·2· · · ·A· · Or ingested an edible.
    ·3· · · ·Q· · Okay.· Consumed marijuana.
    ·4· · · ·A· · Consumed marijuana.
    ·5· · · ·Q· · Okay.
    ·6· · · · · · Other than that, we can't say anything just
    ·7· ·from the toxicology results alone; not even that he got
    ·8· ·injected with benzodiazepine.· Correct?
    ·9· · · ·A· · There wouldn't be any data to categorically
    10· ·state -- to identify the presence of other drugs.
    11· ·You're right.
    12· · · ·Q· · Okay.
    13· · · · · · So to go to any other drug in his system or any
    14· ·other cause of his either psychotic break or altered
    15· ·consciousness or excited delirium, we would have to go
    16· ·to other data and other history other than the
    17· ·toxicology results; correct?
    18· · · ·A· · Well, we would use them in part.· They're a
    19· ·part of my belief that there were -- that there were
    20· ·other drugs involved.
    21· · · · · · But to say with 100 percent surety, the
    22· ·toxicology data is confined to the drugs that you just
    23· ·mentioned.
    24· · · ·Q· · Okay.
    25· · · · · · Now, let's go to page 9.· And there's a


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    ·1· · · ·Q· · I mean, we don't even know when the last time
    ·2· ·that he used whip-its was; correct?
    ·3· · · ·A· · We don't.
    ·4· · · ·Q· · You say in this paragraph, "It" -- meaning the
    ·5· ·nitrous oxide -- "was not tested for by the Medical
    ·6· ·Examiner . . ."
    ·7· · · · · · Is that because it couldn't be tested for, or
    ·8· ·is this a test they overlooked?
    ·9· · · ·A· · To the best of my knowledge, you can't find
    10· ·something that's no longer there.· So -- and I don't
    11· ·know of a marker that you could use as a surrogate.· So
    12· ·it's incredibly difficult to find nitrous oxide in the
    13· ·body.· I don't think there is a test available for it.
    14· · · ·Q· · Okay.
    15· · · · · · So -- and then in terms of cocaine, can we say
    16· ·based on the results of the toxicological screen that
    17· ·Mr. Phounsy had not ingested any cocaine for at least 24
    18· ·to 48 hours?
    19· · · ·A· · Yes.
    20· · · ·Q· · Okay.
    21· · · · · · And in terms of LSD, can we say the same?
    22· · · ·A· · Yes.
    23· · · ·Q· · Okay.
    24· · · · · · And so we can say for reasonable medical
    25· ·certainty Mr. Phounsy was not feeling any effect


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    ·1· ·physically from levels of cocaine or LSD in his body on
    ·2· ·the evening of April 13th; correct?
    ·3· · · ·A· · In terms of his mental status, that's correct.
    ·4· · · ·Q· · Okay.
    ·5· · · · · · Now, you have this hypothesis, I would call it,
    ·6· ·that he had consumed bath salts that would not have
    ·7· ·shown up on the drug screens.
    ·8· · · · · · Other than Mr. Phounsy's behavior as it's been
    ·9· ·described to you, do you have any other evidence that
    10· ·Mr. Phounsy consumed bath salts?
    11· · · ·A· · Well, I believe my statement was bath salts or
    12· ·other sympathomimetic drugs.
    13· · · ·Q· · Right.· But I can't say that word.· So can we
    14· ·just call them bath salts?
    15· · · ·A· · All right.
    16· · · ·Q· · Okay.· Understanding that it's a broad
    17· ·category.
    18· · · ·A· · Okay.
    19· · · ·Q· · Okay.
    20· · · ·A· · All right.
    21· · · · · · The pattern of behavior on the evening of the
    22· ·13th in the context of previous and probably substantial
    23· ·sympathomimetic drug abuse is so strikingly similar to
    24· ·so many other patients that I've seen acutely under the
    25· ·influence of sympathomimetic drugs that I just don't see


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    ·1· ·I believe that his -- the pathology at autopsy showed
    ·2· ·that he was a significant sympathomimetic drug abuser
    ·3· ·over a significant period of time.
    ·4· · · · · · We know that he was at Coachella.· We know that
    ·5· ·not only at Coachella but concerts similar to that
    ·6· ·sympathomimetic or bath salt use is rampant.· So there
    ·7· ·are a lot of circumstances that go into my opinion.
    ·8· · · · · · Now, whether or not that meets your definition
    ·9· ·of evidence as -- in the question you asked me, I'm not
    10· ·certain.· But that's a part of the basis for my
    11· ·opinion.
    12· · · ·Q· · Well, my answer to your question, even though
    13· ·I'm asking the questions, is that, no, it doesn't --
    14· · · ·A· · Okay.
    15· · · ·Q· · -- meet my -- I mean, if he's one of 100,000
    16· ·people at a festival, to me that is not evidence that he
    17· ·consumed bath salts, actually.
    18· · · · · · So I want to know did he say he took bath
    19· ·salts?· Do you have some person who said he took bath
    20· ·salts?· Do you have some toxicological test that shows
    21· ·he took bath salts?· Do you have some evidence that he
    22· ·went to a store and purchased bath salts?
    23· · · ·A· · In terms of the specific questions that you
    24· ·just asked, no.
    25· · · ·Q· · Okay.


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    ·1· · · · · · But you're saying that just based on his
    ·2· ·behavior -- and we know what his behavior was.· There
    ·3· ·was some dispute about it, but a lot of it's agreed --
    ·4· ·on Monday night that you attribute that behavior as
    ·5· ·virtually certain to be the result of his recent
    ·6· ·ingestion of bath salts?
    ·7· · · ·A· · My opinion is not based simply on his behavior
    ·8· ·that night.
    ·9· · · ·Q· · Well, your explanation for his behavior that
    10· ·night, his cognitive break that we all agree happened,
    11· ·is that it virtually certainly was due to the fact that,
    12· ·unbeknownst to anybody, or anybody who will admit it, he
    13· ·consumed bath salts on Monday, April 13th; correct?
    14· · · ·A· · I never use the phrase virtually certain.· I am
    15· ·saying --
    16· · · ·Q· · Okay.· Your term.· Your term is -- it's here.
    17· ·To a high degree of medical probability.
    18· · · ·A· · That's different than certainty.
    19· · · ·Q· · Okay.· So we'll use that term.
    20· · · · · · So you're saying that based on his behavior on
    21· ·the 13th the -- the evening of the 13th as well as the
    22· ·clinical findings on autopsy that to a high degree of
    23· ·medical probability Mr. Phounsy apparently, unbeknownst
    24· ·to his family and the people around him, consumed bath
    25· ·salts, and that's why he went into this altered state of


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    ·1· ·consciousness.
    ·2· · · · · · MS. PARADIS:· Objection.· May misstate his
    ·3· ·prior testimony.
    ·4· · · · · · MR. OSTERBERG:· Objection.· Misstates prior
    ·5· ·testimony.· Overly broad.
    ·6· · · · · · THE WITNESS:· On the basis of the sum total of
    ·7· ·information that was presented to me in this case, his
    ·8· ·previous history, the pathology on his autopsy, going to
    ·9· ·a concert where drug use was rampant, and the
    10· ·opportunity to buy bath salts was there and, most
    11· ·importantly, his behavior on the evening of the 13th
    12· ·after a relatively lucid interval during the earlier
    13· ·part of the day on the 13th, I believe -- it is my
    14· ·opinion as a medical toxicologist to a reasonably high
    15· ·degree of medical probability, well exceeding
    16· ·50 percent, that his -- that he was under the influence
    17· ·of a sympathomimetic drug not detectable by the San
    18· ·Diego County Medical Examiner.
    19· ·BY MR. BURTON:
    20· · · ·Q· · And is your -- is that an exhaustive list of
    21· ·all the reasons you have?· I mean, you listed a bunch of
    22· ·reasons.· I just want to make sure that you've listed
    23· ·all your reasons.
    24· · · ·A· · I believe it is.· I was trying to give you the
    25· ·whole picture in one answer.


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